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 1 TRINETTE G. KENT (State Bar No. 025180)
 2 3219 East Camelback Road, #588
   Phoenix, AZ 85018
 3 Telephone: (480) 247-9644
 4 Facsimile: (480) 717-4781
   E-mail: tkent@lemberglaw.com
 5
 6 Of Counsel to
   Lemberg Law, LLC
 7 A Connecticut Law Firm
 8 1100 Summer Street
   Stamford, CT 06905
 9 Telephone: (203) 653-2250
10 Facsimile: (203) 653-3424
11 Attorneys for Plaintiff,
12 Luis Ochoa
13
                                 UNITED STATES DISTRICT COURT
14
                                      DISTRICT OF ARIZONA
15
16
17 Luis Ochoa,                                  Case No.: : 2:17-cv-04182-JJT
18                                              NOTICE OF SETTLEMENT
                         Plaintiff,
19
20            vs.
21 Ally Financial, Inc.,
22
                    Defendant.
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27
28
     2:17-cv-04182-JJT                                             NOTICE OF SETTLEMENT
          Case 2:17-cv-04182-JJT Document 21 Filed 03/12/18 Page 2 of 4



1            NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
2
     reached a settlement. The parties anticipate filing a Stipulation of Dismissal with
3
4 Prejudice pursuant to Fed. R. Civ. P. 41(a) within 60 days.
5
6
                                                By: /s/ Trinette G. Kent
7                                               Trinette G. Kent, Esq.
8                                               Lemberg Lemberg, LLC
                                                Attorney for Plaintiff, Luis Ochoa
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     2:17-cv-04182-JJT                                                 NOTICE OF SETTLEMENT
          Case 2:17-cv-04182-JJT Document 21 Filed 03/12/18 Page 3 of 4



 1                                   CERTIFICATE OF SERVICE
 2
             I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On March 12, 2018, I served a true copy of
 5 foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendant Ally Financial
 8 certify that on March 12, 2018, a copy of Inc.
   the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
             I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27
             Executed on March 12, 2018.
28
                                                  3
     2:17-cv-04182-JJT                                                   NOTICE OF SETTLEMENT
          Case 2:17-cv-04182-JJT Document 21 Filed 03/12/18 Page 4 of 4



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2                                            By: /s/ Trinette G. Kent
                                             Trinette G. Kent, Esq.
3                                            Lemberg Law, LLC
4                                            Attorney for Plaintiff, Luis Ochoa
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     2:17-cv-04182-JJT                                             NOTICE OF SETTLEMENT
